Case:19-15473-KHT Doc#:60 Filed:08/08/19                   Entered:08/08/19 16:00:30 Page1 of 4




                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

In re:                                                 )
                                                       )
CHEYENNE HOTEL INVESTMENTS, LLC                        )       Case No. 19-15473-KHT
                                                       )       Chapter 11
         EIN:# XX-XXXXXXX                              )
                                                       )
                Debtor                                 )



                   DEBTOR’S RESPONSE TO ORDER TO SHOW CAUSE


         Debtor, Cheyenne Hotel Investments, LLC submits the following response to this Court’s

Order to Show Cause dated July 25, 2019.

1.       This case was commenced on June 26, 2019 by the filing of a voluntary petition under

         Chapter 11 of the Bankruptcy Code. (Docket # 1).

2.       The case was filed without the required Statement of Affairs and Schedules due to exigent

         circumstances which appeared to demand immediate filing. Prior to the filing, the Debtor

         and its counsel did not have the benefit of customary assembly of background financial and

         operations information, or even the assignment of tasks necessary to assemble the

         information necessary to prepare the Statement of Affairs and Schedules.

3.       As soon as the case was filed, the attention of counsel and senior management of the Debtor

         was directed to preparation, filing and prosecution of a Motion for relief under Sections 362

         and 365 of the Bankruptcy Code. Docket # 11. That Motion resulted in two hearings, a non-

         evidentiary hearing on July 9, 2019, and an evidentiary hearing on July 17, 2019. Although

         the Debtor and its counsel worked on the collection and assembly of information necessary


                                                  1
Case:19-15473-KHT Doc#:60 Filed:08/08/19                Entered:08/08/19 16:00:30 Page2 of 4




      to the Statements and Schedules during this period, they were not able to devote undivided

      attention to those matters.

4.    Debtor’s counsel is a solo practitioner and has no associates or paralegals available to assist

      in preparation of the statements and schedules.

5.    Debtor’s management is conducted by its Member-Manager, Samira Khan, and a few key

      other persons, including an outside accounting firm. Coordination of the various sources of

      data necessary to preparation of the statements and schedules was not supported by a

      substantial in-house staff of the Debtor.

4.    As a result of the foregoing factors, the Debtor was unable to timely file its Statement of

      Affairs and Schedules of Assets and Liabilities.

5.    The Debtor filed two Motions for extension of time to file its Statement of Affairs and

      Schedules of Assets and Liabilities. Docket ## 21, 35. In each instance, the request was

      granted. ## 25, 38. The last request filed on July 18, 2019 granted an extension of time to

      July 22, 2019.

6.    In each instance, the request for additional time was made by Debtor based upon undersigned

      counsel’s best estimate of the Debtor and counsel’s ability to complete the required filings.

7.    By July 22, 2019, although work was well underway on the Statement of Affairs and

      Schedules of Assets and Liabilities, those filings were not completed. Completion seemed

      imminent, but counsel lacked confidence in his ability to predict the date when the filings

      would be done. Therefore, the Debtor did not file a further request for additional time to file.

8.    On July 25, 2019 this Court issued its Order to Show Cause. Docket # 44.

9.    Also on July 25,2019, the Debtor filed its Statement of Affairs (Docket # 45), Schedule A/B


                                                  2
Case:19-15473-KHT Doc#:60 Filed:08/08/19                 Entered:08/08/19 16:00:30 Page3 of 4




         (Docket #46), Schedules D, E, and F (Docket # 47), Schedule G (Docket # 47), Schedule

         H (Docket # 49). and Debtor’s supporting Declaration (Docket # 50). These filing were

         made as soon as Debtor and Debtor’s counsel could complete them, and were not prompted

         by the Order to Show Cause.

10.      Upon a subsequent review of the Docket, counsel noted that a statement of equity holders

         and a summary of the schedules had not been filed on July 25, 2019.      Those deficiencies

         were the product of counsel’s adoption of a new web-based system for preparation of the

         initial filings, and counsel’s unfamiliarity with that system. Those deficiencies were cured

         on August 5, 2019. Docket ## 58, 59.

11.      Debtor submits that all of the deficiencies noted in the Order to Show Cause have been

         cured.

12.      No prejudice to the creditors has resulted form the Debtors’ delay in filing.

13.      The Debtor exercised good faith and diligence in getting the filings completed.

Wherefore, Debtor Cheyenne Hotel Investments, LLC asks the Court to discharge the Order to Show

Cause.

Dated this 8th day of August 2019.             Respectfully submitted,

                                               THOMAS F. QUINN, P.C.

                                               By:    /s/ Thomas F. Quinn
                                               Thomas F. Quinn (#5887)
                                               303 East 17th Avenue, Suite 920
                                               Denver, CO 80203
                                               Telephone: (303) 832-4355
                                               Facsimile: (303) 672-8281
                                               Email: tquinn@tfqlaw.com
                                               Attorney for the Debtor
                                               Cheyenne Hotel Investments, LLC


                                                  3
Case:19-15473-KHT Doc#:60 Filed:08/08/19             Entered:08/08/19 16:00:30 Page4 of 4




                               CERTIFICATE OF SERVICE

The undersigned hereby certifies that on August 8, 2019 true and correct copies of the foregoing
DEBTOR’S RESPONSE TO ORDER TO SHOW CAUSE was served electronically via the Court’s
CM/ECF notice system, addressed to all parties receiving such notice.


                                                         /s/ Thomas F. Quinn
                                                   ________________________________
                                                         Thomas F. Quinn




                                               4
